5/11/23, 3:44 PM                      Case 23-10629-mdc                Doc 27-1 Filed 05/23/23         Entered
                                                                                              Live Database Area 05/23/23 11:50:43   Desc
                                                                       Exhibit -U.S.
                                                                                ProofBankruptcy Court 1 of 57
                                                                                       of Claim     Page

                                                                                Eastern District of Pennsylvania

Notice of Electronic Claims Filing

The following transaction was received from NICHOLAS, BRIAN on 5/11/2023 at 3:44 PM EST

File another claim
Case Name:                                 Cory Nathaniel Lewis
Case Number:                               23-10629-mdc
                                           MidFirst Bank
Creditor Name:                             999 NorthWest Grand Boulevard
                                           Oklahoma City, OK 73118
Claim Number:                              11 Claims Register
Amount Claimed: $310,681.04
Amount Secured: $310681.04
Amount Priority:

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:Client approved POC- Lewis.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=1008166204 [Date=5/11/2023] [FileNumber=31296986-
0] [24cf2a883451d72ced086ebaaf3f39f7847257fd542dbde210e7926e8ffd630bcf
d1ecc8902569d4343d25a7c65b460b9c9dd1eedd9df8b9e00414f1547b6ae0]]
Document description:Exhibit Certificate of Service
Original filename:C:\fakepath\COS- Lewis.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=1008166204 [Date=5/11/2023] [FileNumber=31296986-
1] [4f3c768ee2676daf5ec0a20a72f9b13e8d39f1f3976872234972deb7e15350967e
5da45bfbbb0ace40785ee228f02e53aee927dbf74609876111dfefeb9aef92]]
Document description:Exhibit 410a Payment History
Original filename:C:\fakepath\410a- Lewis.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=1008166204 [Date=5/11/2023] [FileNumber=31296986-
2] [ae8881a5ff6157fc73d79e1ca66d22b939d422a155db840a004a5254c33da02388
d618779e47ed28ed15f1fc624a7a113167013d08d0800112969464b7ab46fe]]
Document description:Exhibit Escrow Analysis

https://ecf.paeb.uscourts.gov/cgi-bin/FilingClaims.pl?958049492207164-L_1_3-1                                                               1/2
5/11/23, 3:44 PM           Case 23-10629-mdc Doc 27-1 Filed 05/23/23             Entered
                                                                        Live Database Area 05/23/23 11:50:43   Desc
Original filename:C:\fakepath\EA- Lewis.pdf      Exhibit - Proof of Claim     Page    2 of 57
Electronic document Stamp:
[STAMP bkecfStamp_ID=1008166204 [Date=5/11/2023] [FileNumber=31296986-
3] [1fa5d130c50238841c8918a819a794edc96ab73defba260f3baa231e68c0f619e0
38f152b74a70badb6c119ea30a5343cda74d14da94b61eecd27c6b610a830b]]
Document description:Exhibit Loan Documents
Original filename:C:\fakepath\Loan Documents- Lewis.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=1008166204 [Date=5/11/2023] [FileNumber=31296986-
4] [141cde2da792aca753cf36a00c893fde5ec3b444f82fb1df17ab300dbd25b61031
83e2acf211344e93974ba606f9b30dc72b9a6acdb421ce44e16b695c7abba5]]

23-10629-mdc Notice will be electronically mailed to:

MICHAEL A. CIBIK on behalf of Debtor Cory Nathaniel Lewis
mail@cibiklaw.com, cibiklawpc@jubileebk.net;ecf@casedriver.com

MICHAEL PATRICK FARRINGTON on behalf of Creditor MIDFIRST BANK
mfarrington@kmllawgroup.com

WILLIAM CARL KATZ on behalf of Creditor Daniel Pommells
WKatz@sanddlawyers.com, mhanford@sanddlawyers.com;rchew@sanddlawyers.com;kdaley@sanddlawyers.com

United States Trustee
USTPRegion03.PH.ECF@usdoj.gov

KENNETH E. WEST
ecfemails@ph13trustee.com, philaecf@gmail.com

KENNETH E. WEST on behalf of Trustee KENNETH E. WEST
ecfemails@ph13trustee.com, philaecf@gmail.com

23-10629-mdc Notice will not be electronically mailed to:

Synchrony Bank
c/o PRA Receivables Management, LLC
PO Box 41021
Norfolk, VA 23541



https://ecf.paeb.uscourts.gov/cgi-bin/FilingClaims.pl?958049492207164-L_1_3-1                                         2/2
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Case 23-10629-mdc   Doc 27-1 Filed 05/23/23 Entered 05/23/23 11:50:43   Desc
                    Exhibit - Proof of Claim Page 4 of 57
Case 23-10629-mdc   Doc 27-1 Filed 05/23/23 Entered 05/23/23 11:50:43   Desc
                    Exhibit - Proof of Claim Page 5 of 57
           Case 23-10629-mdc                 Doc 27-1 Filed 05/23/23 Entered 05/23/23 11:50:43                             Desc
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                                              IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


               Cory Nathaniel Lewis                                                     CHAPTER 13

                                                    Debtor(s)                    NO. 23-10629 MDC




                                                        CERTIFICATE OF SERVICE

                           I, the undersigned, attorney for MIDFIRST BANK do hereby certify that true and correct copies of
               the foregoing Proof of Claim have been served May 11, 2023, by electronic filing upon those listed below:

                    Attorney for Debtor(s)
                    MICHAEL A. CIBIK
                    Cibik Law, P.C.
                    1500 Walnut Street, Suite 900
                    Philadelphia, PA 19102

                    Bankruptcy Trustee
                    Kenneth E. West
                    Office of the Chapter 13 Standing Trustee (VIA ECF)
                    1234 Market Street - Suite 1813
                    Philadelphia, PA 19107

                    Date: May 11, 2023

                                                                 /s/ Brian C. Nicholas
                                                                 Brian C. Nicholas
                                                                 Attorney I.D. 317240
                                                                 KML Law Group, P.C.
                                                                 BNY Mellon Independence Center
                                                                 701 Market Street, Suite 5000
                                                                 Philadelphia, PA 19106
                                                                 412-430-3594
                                                                 bnicholas@kmllawgroup.com




                                                                                                                                244
Official Form 410                                               Proof of Claim                                                page 3
                                                                                         Case 23-10629-mdc                            Doc 27-1 Filed 05/23/23 Entered 05/23/23 11:50:43                                                               Desc
                                                                                                                                      Exhibit - Proof of Claim Page 7 of 57

             Part 1: Mortgage and Case Information                             Part 2: Total Debt Calculation                            Part 3: Arrearage as of Date of the Petition                        Part 4: Monthly Mortgage Payment                             Starting Principal Balance:        $311,106.20
Case Number                              23-10629-13      Principal Balance:                                         306,309.21 Principal & Interest Due:                             6,663.50 Principal & Interest:                            1,332.70          Starting Accrued Interest Balance:
                                         CORY NATHANIEL
Debtor 1                                 LEWIS            Interest Due:                                                4,012.44 Prepetition Fees Due:                                 156.60 Monthly Escrow:                                    1,024.00                   Starting Escrow Balance:          -$21,606.46
Debtor 2                                                  Fees, Costs Due:                                               156.60 Escrow Deficiency for Funds                                  Private Mortgage Insurance:                          207.81            Starting Fees/Charges Balance:                 $0.00
Last 4 Digits to Identify                xxxx6704                                                                               Advanced:                                             309.39                                                                     Starting Unapplied Funds Balance:                $57.37
Creditor                                 MidFirst Bank    Escrow Deficiency for Funds Advanced:                          309.39 Projected Escrow Shortage:                          7,042.81 Total Monthly Payment:                             2,564.51
Servicer                                 MidFirst Bank    Less Total Funds On Hand:                                      106.60 Less Funds On Hand:                                   106.60
Fixed Accrual/Daily                                       Deferred Balance:                                                0.00                                                              Next Due Date:                                     4/1/2023        Loan Number:              58136704
Simple Interest/Other                    Fixed            Total Debt:                                                310,681.04 Total Prepetition Arrearage:                       14,065.70
Part 5: Loan Payment History from First Date of Default
                                                               Account Activity                                                                     How Funds Were Applied/Amount Incurred                                                                 Balance After Amount Received or Incurred
A.                 B.                C.                   D.                  E.                            F.                  G.                  H.               I.                  J.                      K.                   L.                   M.                N.                   O.                       P.            Q.
Date               Contractual       Funds Received       Amount               Description                  Contractual Due Prin, Int & Esc         Amount to            Amount to           Amount to           Amount to Fees Unapplied                  Principal           Accrued                  Escrow Balance Fees/             Unapplied
                   Payment                                Incurred                                          Date            Past Due                Principal            Interest            Escrow              or Charges     Funds                      Balance             Interest                                Charges           Funds Balance
                   Amount                                                                                                   Balance                                                                                                                                            Balance                                 Balance
      10/1/2019         2755.58               0.00                0.00         Contractual Payment Due            10/1/2019            2755.58               0.00               0.00                 0.00                 0.00                0.00             312522.41                                    2010.08              0.00          0.00
     10/15/2019          0.00                 0.00                0.00         Payments Posting                  *10/01/2019            0.00                351.63             1432.39              971.56                0.00                0.00             312170.78                                    2981.64              0.00          0.00
     10/21/2019          0.00                 0.00                0.00         Payments Posting                  *11/01/2019          -2755.58              353.24             1430.78              971.56                0.00                0.00             311817.54                                    3953.20              0.00          0.00
     10/30/2019          0.00                 0.00                0.00         Payment Reversal                   10/1/2019             0.00               -353.24            -1430.78             -971.56                0.00                0.00             312170.78                                    2981.64              0.00          0.00
     10/30/2019          0.00                 0.00                15.00        Billed - Nsf Fee                                         0.00                 0.00               0.00                 0.00                 15.00               0.00             312170.78                                    2981.64             15.00          0.00
     10/30/2019          0.00                 0.00                0.00         Escrow Refund                                            0.00                 0.00               0.00               -707.48                0.00                0.00             312170.78                                    2274.16             15.00          0.00
     10/30/2019          0.00                 0.00                0.00         MIP Paid                                                 0.00                 0.00               0.00               -217.40                0.00                0.00             312170.78                                    2056.76             15.00          0.00
      11/1/2019         2755.58               0.00                0.00         Contractual Payment Due            11/1/2019            2755.58               0.00               0.00                 0.00                 0.00                0.00             312170.78                                    2056.76             15.00          0.00
     11/18/2019          0.00                 0.00                0.00         Payments Posting                  *11/01/2019            0.00                353.24             1430.78              971.56                0.00                0.00             311817.54                                    3028.32             15.00          0.00
     11/18/2019          0.00                 0.00               -15.00        Fees Paid                                                0.00                 0.00               0.00                 0.00                -15.00               0.00             311817.54                                    3028.32              0.00          0.00
     11/25/2019          0.00                 0.00                0.00         MIP Paid                                                 0.00                 0.00               0.00               -217.40                0.00                0.00             311817.54                                    2810.92              0.00          0.00
     11/26/2019          0.00                 0.00                0.00         Payment Reversal                  10/1/2019             2755.58             -353.24            -1430.78             -971.56                0.00                0.00             312170.78                                    1839.36              0.00          0.00
     11/26/2019          0.00                 0.00                15.00        Fee Reversal                                            2755.58               0.00               0.00                 0.00                 15.00               0.00             312170.78                                    1839.36             15.00          0.00
     11/26/2019          0.00                 0.00                15.00        Billed - Nsf Fee                                        2755.58               0.00               0.00                 0.00                 15.00               0.00             312170.78                                    1839.36             30.00          0.00
     11/26/2019          0.00                 0.00                71.36        Late Fees                                               2755.58               0.00               0.00                 0.00                 71.36               0.00             312170.78                                    1839.36             101.36         0.00
      12/1/2019         2758.50               0.00                0.00         Contractual Payment Due           12/1/2019             5514.08               0.00               0.00                 0.00                 0.00                0.00             312170.78                                    1839.36             101.36         0.00
     12/16/2019          0.00                 0.00                71.36        Late Fees                                               5514.08               0.00               0.00                 0.00                 71.36               0.00             312170.78                                    1839.36             172.72         0.00
     12/20/2019          0.00                 0.00                0.00         MIP Paid                                                5514.08               0.00               0.00               -217.40                0.00                0.00             312170.78                                    1621.96             172.72         0.00
     12/26/2019          0.00                 0.00                20.00        Billed - Inspection Fee                                 5514.08               0.00               0.00                 0.00                 20.00               0.00             312170.78                                    1621.96             192.72         0.00
      1/1/2020          2758.50               0.00                0.00         Contractual Payment Due             1/1/2020            8272.58               0.00               0.00                 0.00                 0.00                0.00             312170.78                                    1621.96             192.72         0.00
      1/6/2020           0.00                 0.00                0.00         Payments Posting                  *11/01/2019           5517.00              353.24             1430.78              971.56                0.00                0.00             311817.54                                    2593.52             192.72         0.00
      1/6/2020           0.00                 0.00                0.00         Payments Posting                  *12/01/2019           2858.50              354.86             1429.16              874.48                0.00                0.00             311462.68                                    3468.00             192.72         0.00
      1/6/2020           0.00                 0.00                0.00         Suspense Transaction                                    2858.50               0.00               0.00                 0.00                 0.00                97.08            311462.68                                    3468.00             192.72         97.08
      1/6/2020           0.00                 0.00                19.00        Billed - E Pay Fee                                      2858.50               0.00               0.00                 0.00                 19.00               0.00             311462.68                                    3468.00             211.72         97.08
      1/6/2020           0.00                 0.00               -19.00        Paid - E Pay Fee                                        2858.50               0.00               0.00                 0.00                -19.00               0.00             311462.68                                    3468.00             192.72         97.08
      1/8/2020           0.00                 0.00                0.00         Suspense Transaction                                    2858.50               0.00               0.00                 0.00                 0.00              2934.14            311462.68                                    3468.00             192.72        3031.22
      1/8/2020           0.00                 0.00                0.00         Payments Posting                  *1/01/2020            100.00               356.48             1427.54              974.48                0.00             -2758.50            311106.20                                    4442.48             192.72        272.72
      1/8/2020           0.00                 0.00                0.00         Escrow Transaction                                      100.00                0.00               0.00                 80.00                0.00               -80.00            311106.20                                    4522.48             192.72        192.72
      1/8/2020           0.00                 0.00               -20.00        Fees Paid                                               100.00                0.00               0.00                 0.00                -20.00              -20.00            311106.20                                    4522.48             172.72        172.72
      1/8/2020           0.00                 0.00               -30.00        Fees Paid                                               100.00                0.00               0.00                 0.00                -30.00              -30.00            311106.20                                    4522.48             142.72        142.72
      1/8/2020           0.00                 0.00              -142.72        Fees Paid                                               100.00                0.00               0.00                 0.00               -142.72             -142.72            311106.20                                    4522.48              0.00          0.00
      1/15/2020          0.00                 0.00                0.00         Escrow Transaction                                      100.00                0.00               0.00                -80.00                0.00                80.00            311106.20                                    4442.48              0.00          80.00
      1/15/2020          0.00                 0.00                0.00         Payment Reversal                  12/1/2019             2858.50             -356.48            -1427.54             -974.48                0.00              2758.50            311462.68                                    3468.00              0.00         2838.50
      1/15/2020          0.00                 0.00                0.00         Payment Reversal                  11/1/2019             5517.00             -354.86            -1429.16             -874.48                0.00              2658.50            311817.54                                    2593.52              0.00         5497.00
      1/15/2020          0.00                 0.00                0.00         Payment Reversal                  10/1/2019             8272.58             -353.24            -1430.78             -971.56                0.00              2755.58            312170.78                                    1621.96              0.00         8252.58
      1/15/2020          0.00                 0.00                19.00        Fee Reversal                                            8272.58               0.00               0.00                 0.00                 19.00               19.00            312170.78                                    1621.96             19.00         8271.58
      1/15/2020          0.00                 0.00                20.00        Fee Reversal                                            8272.58               0.00               0.00                 0.00                 20.00               20.00            312170.78                                    1621.96             39.00         8291.58
      1/15/2020          0.00                 0.00               142.72        Late Fees                                               8272.58               0.00               0.00                 0.00                142.72              142.72            312170.78                                    1621.96             181.72        8434.30
      1/15/2020          0.00                 0.00                30.00        Fee Reversal                                            8272.58               0.00               0.00                 0.00                 30.00               30.00            312170.78                                    1621.96             211.72        8464.30
      1/15/2020          0.00                 0.00                0.00         Payment Reversal                                        8272.58               0.00               0.00                 0.00                 0.00             -5530.16            312170.78                                    1621.96             211.72        2934.14
      1/15/2020          0.00                 0.00                15.00        Billed - Nsf Fee                                        8272.58               0.00               0.00                 0.00                 15.00               0.00             312170.78                                    1621.96             226.72        2934.14
      1/15/2020          0.00                 0.00                0.00         Payments Posting                  *11/01/2019           5517.00              353.24             1430.78              971.56                0.00             -2755.58            311817.54                                    2593.52             226.72        178.56
      1/15/2020          0.00                 0.00                0.00         Escrow Transaction                                      5517.00               0.00               0.00                 80.00                0.00               -80.00            311817.54                                    2673.52             226.72         98.56
      1/16/2020          0.00                 0.00                71.36        Fees Billed                                             5517.00               0.00               0.00                 0.00                 71.36               0.00             311817.54                                    2673.52             298.08         98.56
      1/29/2020          0.00                 0.00                0.00         MIP Paid                                                5517.00               0.00               0.00               -217.40                0.00                0.00             311817.54                                    2456.12             298.08         98.56
      2/26/2020          0.00                 0.00                0.00         MIP Paid                                                5517.00               0.00               0.00               -217.40                0.00                0.00             311817.54                                    2238.72             298.08         98.56
      3/5/2020           0.00                 0.00                0.00         Suspense Transaction                                    5517.00               0.00               0.00                 0.00                 0.00              5490.81            311817.54                                    2238.72             298.08        5589.37
      3/5/2020           0.00                 0.00                0.00         Payments Posting                  *12/01/2019           2758.50              354.86             1429.16              974.48                0.00             -2758.50            311462.68                                    3213.20             298.08        2830.87
      3/5/2020           0.00                 0.00                0.00         Payments Posting                   *1/01/2020            0.00                356.48             1427.54              974.48                0.00             -2758.50            311106.20                                    4187.68             298.08         72.37
      3/16/2020          0.00                 0.00                0.00         Payment Reversal                    12/1/2019           2758.50             -356.48            -1427.54             -974.48                0.00              2758.50            311462.68                                    3213.20             298.08        2830.87
      3/16/2020          0.00                 0.00                0.00         Payment Reversal                    11/1/2019           5517.00             -354.86            -1429.16             -974.48                0.00              2758.50            311817.54                                    2238.72             298.08        5589.37
      3/16/2020          0.00                 0.00                0.00         Payment Reversal                                        5517.00               0.00               0.00                 0.00                 0.00             -5490.81            311817.54                                    2238.72             298.08         98.56
      3/16/2020          0.00                 0.00                15.00        Fees Billed                                             5517.00               0.00               0.00                 0.00                 15.00               0.00             311817.54                                    2238.72             313.08         98.56
      3/19/2020          0.00                 0.00                0.00         Suspense Transaction                                    5517.00               0.00               0.00                 0.00                 0.00              5490.81            311817.54                                    2238.72             313.08        5589.37
                                                                         Case 23-10629-mdc                         Doc 27-1 Filed 05/23/23 Entered 05/23/23 11:50:43                                       Desc
                                                                                                                   Exhibit - Proof of Claim Page 8 of 57

A.               B.             C.               D.             E.                         F.                 G.             H.             I.             J.               K.             L.               M.               N.         O.               P.            Q.
Date             Contractual    Funds Received   Amount         Description                Contractual Due Prin, Int & Esc   Amount to      Amount to      Amount to        Amount to Fees Unapplied        Principal        Accrued    Escrow Balance Fees/           Unapplied
                 Payment                         Incurred                                  Date            Past Due          Principal      Interest       Escrow           or Charges     Funds            Balance          Interest                  Charges         Funds Balance
                 Amount                                                                                    Balance                                                                                                           Balance                   Balance
     3/19/2020         0.00            0.00             15.00   Payments Posting                *12/01/2019        2758.50         354.86        1429.16          974.48           0.00         -2773.50         311462.68                     3213.20        313.08        2815.87
     3/19/2020         0.00            0.00             0.00    Payments Posting                 *1/01/2020         0.00           356.48        1427.54          974.48           0.00         -2758.50         311106.20                     4187.68        313.08         57.37
     3/19/2020         0.00            0.00             0.00    Taxes Paid                                          0.00             0.00          0.00         -2,118.00          0.00            0.00          311106.20                     2069.68        313.08         57.37
     3/26/2020         0.00            0.00             0.00    MIP Paid                                            0.00             0.00          0.00          -217.40           0.00            0.00          311106.20                     1852.28        313.08         57.37
     4/7/2020          0.00            0.00            -79.00   Fee Removed / Not Transferred                       0.00             0.00          0.00            0.00           -79.00           0.00          311106.20                     1852.28        234.08         57.37
     4/30/2020         0.00            0.00             0.00    Insurance Paid                                      0.00             0.00          0.00         -1,707.00          0.00            0.00          311106.20                      145.28        234.08         57.37
     5/4/2020          0.00            0.00             0.00    MIP Paid                                            0.00             0.00          0.00          -217.40           0.00            0.00          311106.20                      -72.12        234.08         57.37
     5/21/2020         0.00            0.00             0.00    Funds Received                                      0.00             0.00          0.00            0.00            0.00            0.00          311106.20                      -72.12        234.08         57.37
     6/4/2020          0.00            0.00             0.00    MIP Paid                                            0.00             0.00          0.00          -214.37           0.00            0.00          311106.20                     -286.49        234.08         57.37
     7/6/2020          0.00            0.00             0.00    MIP Paid                                            0.00             0.00          0.00          -214.37           0.00            0.00          311106.20                     -500.86        234.08         57.37
     8/4/2020          0.00            0.00             0.00    MIP Paid                                            0.00             0.00          0.00          -214.37           0.00            0.00          311106.20                     -715.23        234.08         57.37
     8/10/2020         0.00            0.00             0.00    Taxes Paid                                          0.00             0.00          0.00         -6,617.00          0.00            0.00          311106.20                    -7332.23        234.08         57.37
     9/3/2020          0.00            0.00             0.00    MIP Paid                                            0.00             0.00          0.00          -214.37           0.00            0.00          311106.20                    -7546.60        234.08         57.37
     10/5/2020         0.00            0.00             0.00    MIP Paid                                            0.00             0.00          0.00          -214.37           0.00            0.00          311106.20                    -7760.97        234.08         57.37
     11/4/2020         0.00            0.00             0.00    MIP Paid                                            0.00             0.00          0.00          -214.37           0.00            0.00          311106.20                    -7975.34        234.08         57.37
     12/4/2020         0.00            0.00             0.00    MIP Paid                                            0.00             0.00          0.00          -214.37           0.00            0.00          311106.20                    -8189.71        234.08         57.37
     1/4/2021          0.00            0.00             0.00    MIP Paid                                            0.00             0.00          0.00          -214.37           0.00            0.00          311106.20                    -8404.08        234.08         57.37
     2/4/2021          0.00            0.00             0.00    MIP Paid                                            0.00             0.00          0.00          -214.37           0.00            0.00          311106.20                    -8618.45        234.08         57.37
     3/3/2021          0.00            0.00             0.00    Taxes Paid                                          0.00             0.00          0.00         -2,140.00          0.00            0.00          311106.20                   -10758.45        234.08         57.37
     3/4/2021          0.00            0.00             0.00    MIP Paid                                            0.00             0.00          0.00          -214.37           0.00            0.00          311106.20                   -10972.82        234.08         57.37
     4/5/2021          0.00            0.00             0.00    MIP Paid                                            0.00             0.00          0.00          -214.37           0.00            0.00          311106.20                   -11187.19        234.08         57.37
     4/12/2021         0.00            0.00             0.00    Insurance Paid                                      0.00             0.00          0.00         -2,334.00          0.00            0.00          311106.20                   -13521.19        234.08         57.37
     5/4/2021          0.00            0.00             0.00    MIP Paid                                            0.00             0.00          0.00          -214.37           0.00            0.00          311106.20                   -13735.56        234.08         57.37
     6/4/2021          0.00            0.00             0.00    MIP Paid                                            0.00             0.00          0.00          -211.18           0.00            0.00          311106.20                   -13946.74        234.08         57.37
     7/2/2021          0.00            0.00             0.00    MIP Paid                                            0.00             0.00          0.00          -211.18           0.00            0.00          311106.20                   -14157.92        234.08         57.37
     7/12/2021         0.00            0.00             0.00    Taxes Paid                                          0.00             0.00          0.00         -6,815.00          0.00            0.00          311106.20                   -20972.92        234.08         57.37
     8/4/2021          0.00            0.00             0.00    MIP Paid                                            0.00             0.00          0.00          -211.18           0.00            0.00          311106.20                   -21184.10        234.08         57.37
     9/3/2021          0.00            0.00             0.00    MIP Paid                                            0.00             0.00          0.00          -211.18           0.00            0.00          311106.20                   -21395.28        234.08         57.37
     10/4/2021         0.00            0.00             0.00    MIP Paid                                            0.00             0.00          0.00          -211.18           0.00            0.00          311106.20                   -21606.46        234.08         57.37
     11/1/2021         0.00          2864.00            0.00    Funds Received                                      0.00             0.00          0.00            0.00            0.00            0.00          311106.20                   -21606.46        234.08         57.37
     11/1/2021         0.00            0.00             0.00    Suspense Transaction                                0.00             0.00          0.00            0.00            0.00          2864.00         311106.20                   -21606.46        234.08        2921.37
     11/4/2021         0.00            0.00             0.00    MIP Paid                                            0.00             0.00          0.00          -211.18           0.00            0.00          311106.20                   -21817.64        234.08        2921.37
     11/5/2021         0.00            0.00             0.00    Suspense Transaction                                0.00             0.00          0.00            0.00            0.00         -2864.00         311106.20                   -21817.64        234.08         57.37
     11/5/2021         0.00            0.00             15.00   Billed - Nsf Fee                                    0.00             0.00          0.00            0.00            15.00           0.00          311106.20                   -21817.64        249.08         57.37
     12/6/2021         0.00            0.00             0.00    MIP Paid                                            0.00             0.00          0.00          -211.18           0.00            0.00          311106.20                   -22028.82        249.08         57.37
     1/4/2022          0.00            0.00             0.00    MIP Paid                                            0.00             0.00          0.00          -211.18           0.00            0.00          311106.20                   -22240.00        249.08         57.37
     2/1/2022         2484.63          0.00             0.00    Contractual Payment Due          2/1/2022          2484.63           0.00          0.00            0.00            0.00            0.00          311106.20                   -22240.00        249.08         57.37
     2/1/2022          0.00            0.00           -214.08   Late Fees                        1/1/2022          2484.63           0.00          0.00            0.00          -214.08           0.00          311106.20                   -22240.00        35.00          57.37
     2/1/2022          0.00            0.00             0.00    Adjustment                                         2484.63           0.00          0.00         28,825.25          0.00            0.00          311106.20                     6585.25        35.00          57.37
     2/1/2022          0.00            0.00             0.00    Adjustment                                         2484.63         -57.37          0.00            0.00            0.00            0.00          311163.57                     6585.25        35.00          57.37
     2/1/2022          0.00            0.00             0.00    Principal Curtailments                             2484.63          57.37          0.00            0.00            0.00           -57.37         311106.20                     6585.25        35.00          0.00
     2/4/2022          0.00            0.00             0.00    MIP Paid                                           2484.63           0.00          0.00          -211.18           0.00            0.00          311106.20                     6374.07        35.00          0.00
     2/8/2022          0.00          2484.63            0.00    Funds Received                                     2484.63           0.00          0.00            0.00            0.00            0.00          311106.20                     6374.07        35.00          0.00
     2/8/2022          0.00            0.00             0.00    Payments Posting                *2/01/2022          0.00           522.53         810.17         1,151.93          0.00            0.00          310583.67                     7526.00        35.00          0.00
     2/14/2022         0.00            0.00             0.00    Payment Reversal                 1/1/2022          2484.63        -522.53        -810.17        -1,151.93          0.00            0.00          311106.20                     6374.07        35.00          0.00
     2/14/2022         0.00            0.00             15.00   Billed - Nsf Fee                                   2484.63           0.00          0.00            0.00            15.00           0.00          311106.20                     6374.07        50.00          0.00
     2/15/2022         0.00          2484.63            0.00    Funds Received                                     2484.63           0.00          0.00            0.00            0.00            0.00          311106.20                     6374.07        50.00          0.00
     2/15/2022         0.00            0.00             0.00    Payments Posting                *2/01/2022          0.00           522.53         810.17         1,151.93          0.00            0.00          310583.67                     7526.00        50.00          0.00
     2/15/2022         0.00            0.00             0.00    Principal Transaction                               0.00             3.30          0.00            0.00            0.00            0.00          310580.37                     7526.00        50.00          0.00
     2/15/2022         0.00            0.00            -50.00   Fee Transaction                                     0.00             0.00          0.00            0.00           -50.00           0.00          310580.37                     7526.00         0.00          0.00
     2/23/2022         0.00            0.00             0.00    Payment Reversal                 1/1/2022          2484.63        -522.53        -810.17        -1,151.93          0.00            0.00          311102.90                     6374.07         0.00          0.00
     2/23/2022         0.00            0.00             0.00    Curtailment Reversal                               2484.63          -3.30          0.00            0.00            0.00            0.00          311106.20                     6374.07         0.00          0.00
     2/23/2022         0.00            0.00             15.00   Billed - Nsf Fee                                   2484.63           0.00          0.00            0.00            15.00           0.00          311106.20                     6374.07        15.00          0.00
     2/23/2022         0.00            0.00             50.00   Fee Reversal                                       2484.63           0.00          0.00            0.00            50.00           0.00          311106.20                     6374.07        65.00          0.00
     3/1/2022         2484.63          0.00             0.00    Contractual Payment Due          3/1/2022          4969.26           0.00          0.00            0.00            0.00            0.00          311106.20                     6374.07        65.00          0.00
     3/4/2022          0.00            0.00             0.00    MIP Paid                                           4969.26           0.00          0.00          -211.18           0.00            0.00          311106.20                     6162.89        65.00          0.00
     3/11/2022         0.00            0.00             0.00    Taxes Paid                                         4969.26           0.00          0.00         -2,259.00          0.00            0.00          311106.20                     3903.89        65.00          0.00
     3/16/2022         0.00          5022.56            0.00    Funds Received                                     4969.26           0.00          0.00            0.00            0.00            0.00          311106.20                     3903.89        65.00          0.00
     3/16/2022         0.00            0.00             0.00    Payments Posting                *2/01/2022         2484.63         522.53         810.17         1,151.93          0.00            0.00          310583.67                     5055.82        65.00          0.00
     3/16/2022         0.00            0.00             53.30   Late Fees                        2/1/2022          2484.63           0.00          0.00            0.00            53.30           0.00          310583.67                     5055.82        118.30         0.00
     3/16/2022         0.00            0.00                     Payments Posting                *3/01/2022          0.00           523.89         808.81         1,151.93          0.00            0.00          310059.78                     6207.75        118.30         0.00
     3/16/2022         0.00            0.00           -53.30    Late Fees                        3/1/2022           0.00             0.00          0.00            0.00           -53.30           0.00          310059.78                     6207.75        65.00          0.00
     3/23/2022         0.00           53.30            0.00     Funds Received                                      0.00             0.00          0.00            0.00            0.00            0.00          310059.78                     6207.75        65.00          0.00
     3/23/2022         0.00            0.00            0.00     Payment Reversal                 2/1/2022          2484.63        -523.89        -808.81        -1,151.93          0.00          2484.63         310583.67                     5055.82        65.00         2484.63
     3/23/2022         0.00            0.00            53.30    Late Fees                        2/1/2022          2484.63           0.00          0.00            0.00            53.30           0.00          310583.67                     5055.82        118.30        2484.63
     3/23/2022         0.00            0.00            0.00     Payment Reversal                 1/1/2022          4969.26        -522.53        -810.17        -1,151.93          0.00          2484.63         311106.20                     3903.89        118.30        4969.26
                                                                           Case 23-10629-mdc                             Doc 27-1 Filed 05/23/23 Entered 05/23/23 11:50:43                                       Desc
                                                                                                                         Exhibit - Proof of Claim Page 9 of 57

A.                B.             C.               D.             E.                              F.                 G.             H.             I.             J.               K.             L.               M.               N.         O.              P.            Q.
Date              Contractual    Funds Received   Amount         Description                     Contractual Due Prin, Int & Esc   Amount to      Amount to      Amount to        Amount to Fees Unapplied        Principal        Accrued    Escrow Balance Fees/          Unapplied
                  Payment                         Incurred                                       Date            Past Due          Principal      Interest       Escrow           or Charges     Funds            Balance          Interest                  Charges        Funds Balance
                  Amount                                                                                         Balance                                                                                                           Balance                   Balance
      3/23/2022         0.00           0.00            -53.30    Late Fees                             1/1/2022          4969.26         0.00           0.00            0.00           -53.30            53.30         311106.20                    3903.89        65.00         5022.56
      3/23/2022                                                  Payment Reversal                                        4969.26                                                                      -5022.56         311106.20                    3903.89        65.00          0.00
      3/23/2022         0.00           0.00            15.00     Billed - Nsf Fee                                        4969.26         0.00           0.00            0.00           15.00             0.00          311106.20                    3903.89        80.00          0.00
      3/23/2022                                                  Suspense Transaction                                    4969.26                                                                       5200.00         311106.20                    3903.89        80.00         5200.00
      3/23/2022         0.00            0.00             0.00    Payments Posting                     *2/01/2022         2484.63         522.53         810.17         1,151.93          0.00         -2484.63         310583.67                    5055.82        80.00         2715.37
      3/23/2022         0.00            0.00             53.30   Late Fees                             2/1/2022          2484.63          0.00           0.00            0.00            53.30           0.00          310583.67                    5055.82        133.30        2715.37
      3/23/2022         0.00            0.00             53.30   Payments Posting                     *3/01/2022          0.00           523.89         808.81         1,151.93          0.00         -2537.93         310059.78                    6207.75        133.30        177.44
      3/23/2022         0.00            0.00            -53.30   Late Fees                             3/1/2022           0.00            0.00           0.00            0.00           -53.30          -53.30         310059.78                    6207.75        80.00         124.14
      3/23/2022         0.00            0.00             0.00    Principal Transaction                                    0.00            44.14          0.00            0.00            0.00           -44.14         310015.64                    6207.75        80.00          80.00
      3/23/2022         0.00            0.00            -80.00   Fee Transaction                                          0.00            0.00           0.00            0.00           -80.00          -80.00         310015.64                    6207.75         0.00          0.00
      4/1/2022         2484.63          0.00             0.00    Contractual Payment Due               4/1/2022          2484.63          0.00           0.00            0.00            0.00            0.00          310015.64                    6207.75         0.00          0.00
      4/4/2022          0.00            0.00             0.00    MIP Paid                                                2484.63          0.00           0.00          -211.18           0.00            0.00          310015.64                    5996.57         0.00          0.00
      4/12/2022         0.00            0.00             0.00    Insurance Paid                                          2484.63          0.00           0.00         -2,982.00          0.00            0.00          310015.64                    3014.57         0.00          0.00
      4/15/2022         0.00          2484.63            0.00    Funds Received                                          2484.63          0.00           0.00            0.00            0.00            0.00          310015.64                    3014.57         0.00          0.00
      4/15/2022         0.00            0.00             0.00    Payments Posting                     *4/01/2022          0.00           525.37         807.33         1,151.93          0.00            0.00          309490.27                    4166.50         0.00          0.00
      4/22/2022         0.00            0.00             0.00    Payment Reversal                      3/1/2022          2484.63        -525.37        -807.33        -1,151.93          0.00            0.00          310015.64                    3014.57         0.00          0.00
      4/22/2022         0.00            0.00             15.00   Billed - Nsf Fee                                        2484.63          0.00           0.00            0.00            15.00           0.00          310015.64                    3014.57        15.00          0.00
      4/25/2022         0.00          2537.93            0.00    Funds Received                                          2484.63          0.00           0.00            0.00            0.00            0.00          310015.64                    3014.57        15.00          0.00
      4/25/2022         0.00            0.00             53.30   Payments Posting                     *4/01/2022          0.00           525.37         807.33         1,151.93          0.00            0.00          309490.27                    4166.50        15.00          0.00
      5/1/2022         2484.63          0.00             0.00    Contractual Payment Due               5/1/2022          2484.63          0.00           0.00            0.00            0.00            0.00          309490.27                    4166.50        15.00          0.00
      5/4/2022          0.00            0.00             0.00    MIP Paid                                                2484.63          0.00           0.00          -211.18           0.00            0.00          309490.27                    3955.32        15.00          0.00
      5/16/2022         0.00          2484.63            0.00    Funds Received                                          2484.63          0.00           0.00            0.00            0.00            0.00          309490.27                    3955.32        15.00          0.00
      5/16/2022         0.00            0.00             0.00    Payments Posting                     *5/01/2022          0.00           526.74         805.96         1,151.93          0.00            0.00          308963.53                    5107.25        15.00          0.00
      5/23/2022         0.00            0.00             0.00    Payment Reversal                      4/1/2022          2484.63        -526.74        -805.96        -1,151.93          0.00            0.00          309490.27                    3955.32        15.00          0.00
      5/23/2022         0.00            0.00             15.00   Billed - Nsf Fee                                        2484.63          0.00           0.00            0.00            15.00           0.00          309490.27                    3955.32        30.00          0.00
      6/1/2022         2484.63          0.00             0.00    Contractual Payment Due               6/1/2022          4969.26          0.00           0.00            0.00            0.00            0.00          309490.27                    3955.32        30.00          0.00
      6/6/2022          0.00            0.00             0.00    MIP Paid                                                4969.26          0.00           0.00          -207.81           0.00            0.00          309490.27                    3747.51        30.00          0.00
      7/1/2022         2484.63          0.00             0.00    Contractual Payment Due               7/1/2022          7453.89          0.00           0.00            0.00            0.00            0.00          309490.27                    3747.51        30.00          0.00
      7/5/2022          0.00            0.00             0.00    MIP Paid                                                7453.89          0.00           0.00          -207.81           0.00            0.00          309490.27                    3539.70        30.00          0.00
      7/11/2022         0.00          5000.00            0.00    Funds Received                                          7453.89          0.00           0.00            0.00            0.00            0.00          309490.27                    3539.70        30.00          0.00
      7/11/2022         0.00            0.00             0.00    Payments Posting                     *5/01/2022         4969.26         526.74         805.96         1,151.93          0.00            0.00          308963.53                    4691.63        30.00          0.00
      7/11/2022         0.00            0.00             53.30   Late Fees                             5/1/2022          4969.26          0.00           0.00            0.00            53.30           0.00          308963.53                    4691.63        83.30          0.00
      7/11/2022         0.00            0.00             0.00    Payments Posting                     *6/01/2022         2484.63         528.11         804.59         1,151.93          0.00            0.00          308435.42                    5843.56        83.30          0.00
      7/11/2022         0.00            0.00             53.30   Late Fees                             6/1/2022          2484.63          0.00           0.00            0.00            53.30           0.00          308435.42                    5843.56        136.60         0.00
      7/11/2022         0.00            0.00             0.00    Suspense Transaction                                    2484.63          0.00           0.00            0.00            0.00            30.74         308435.42                    5843.56        136.60         30.74
      7/22/2022         0.00            0.00             0.00    Taxes Paid                                              2484.63          0.00           0.00         -6,925.00          0.00            0.00          308435.42                   -1081.44        136.60         30.74
      8/1/2022         2484.63          0.00             0.00    Contractual Payment Due               8/1/2022          4969.26          0.00           0.00            0.00            0.00            0.00          308435.42                   -1081.44        136.60         30.74
      8/4/2022          0.00            0.00             0.00    MIP Paid                                                4969.26          0.00           0.00          -207.81           0.00            0.00          308435.42                   -1289.25        136.60         30.74
      8/9/2022          0.00          2507.19            0.00    Funds Received                                          4969.26          0.00           0.00            0.00            0.00            0.00          308435.42                   -1289.25        136.60         30.74
      8/9/2022          0.00            0.00             0.00    Payments Posting                     *7/01/2022         2484.63         529.48         803.22         1,151.93          0.00            0.00          307905.94                    -137.32        136.60         30.74
      8/9/2022          0.00            0.00             0.00    Suspense Transaction                                    2484.63          0.00           0.00            0.00            0.00            22.56         307905.94                    -137.32        136.60         53.30
      8/9/2022          0.00            0.00             53.30   Late Fees                             7/1/2022          2484.63          0.00           0.00            0.00            53.30           0.00          307905.94                    -137.32        189.90         53.30
      8/10/2022         0.00            0.00            -53.30   Late Fees                             7/1/2022          2484.63          0.00           0.00            0.00           -53.30          -53.30         307905.94                    -137.32        136.60         0.00
      9/1/2022         2484.63          0.00             0.00    Contractual Payment Due               9/1/2022          4969.26          0.00           0.00            0.00            0.00            0.00          307905.94                    -137.32        136.60         0.00
      9/2/2022          0.00            0.00             0.00    MIP Paid                                                4969.26          0.00           0.00          -207.81           0.00            0.00          307905.94                    -345.13        136.60         0.00
      9/7/2022          0.00          2537.93            0.00    Funds Received                                          4969.26          0.00           0.00            0.00            0.00            0.00          307905.94                    -345.13        136.60         0.00
      9/7/2022          0.00            0.00             0.00    Payments Posting                     *8/01/2022         2484.63         530.86         801.84         1,151.93          0.00            0.00          307375.08                     806.80        136.60         0.00
      9/7/2022          0.00            0.00             0.00    Suspense Transaction                                    2484.63          0.00           0.00            0.00            0.00            53.30         307375.08                     806.80        136.60         53.30
      9/7/2022          0.00            0.00             53.30   Late Fees                            8/1/2022           2484.63          0.00           0.00            0.00            53.30           0.00          307375.08                     806.80        189.90         53.30
      9/8/2022          0.00            0.00            -53.30   Late Fees                            8/1/2022           2484.63          0.00           0.00            0.00           -53.30          -53.30         307375.08                     806.80        136.60         0.00
      10/1/2022        2484.63          0.00             0.00    Contractual Payment Due              10/1/2022          4969.26          0.00           0.00            0.00            0.00            0.00          307375.08                     806.80        136.60         0.00
      10/4/2022         0.00            0.00             0.00    MIP Paid                                                4969.26          0.00           0.00          -207.81           0.00            0.00          307375.08                     598.99        136.60         0.00
      11/1/2022        2484.63          0.00             0.00    Contractual Payment Due              11/1/2022          7453.89          0.00           0.00            0.00            0.00            0.00          307375.08                     598.99        136.60         0.00
      11/4/2022         0.00            0.00             0.00    MIP Paid                                                7453.89          0.00           0.00          -207.81           0.00            0.00          307375.08                     391.18        136.60         0.00
      11/9/2022         0.00            0.00             20.00   Billed - Recoverable Insp Fee                           7453.89          0.00           0.00            0.00            20.00           0.00          307375.08                     391.18        156.60         0.00
     11/29/2022         0.00          5075.86            0.00    Funds Received                                          7453.89          0.00           0.00            0.00            0.00            0.00          307375.08                     391.18        156.60         0.00
     11/29/2022         0.00            0.00             0.00    Payments Posting                      *9/01/2022        4969.26         532.24         800.46         1,151.93          0.00            0.00          306842.84                    1543.11        156.60         0.00
     11/29/2022         0.00            0.00             53.30   Late Fees                              9/1/2022         4969.26          0.00           0.00            0.00            53.30           0.00          306842.84                    1543.11        209.90         0.00
     11/29/2022         0.00            0.00             0.00    Payments Posting                     *10/01/2022        2484.63         533.63         799.07         1,151.93          0.00            0.00          306309.21                    2695.04        209.90         0.00
     11/29/2022         0.00            0.00             53.30   Late Fees                              10/1/2022        2484.63          0.00           0.00            0.00            53.30           0.00          306309.21                    2695.04        263.20         0.00
     11/29/2022         0.00            0.00             0.00    Suspense Transaction                                    2484.63          0.00           0.00            0.00            0.00           106.60         306309.21                    2695.04        263.20        106.60
     11/30/2022         0.00            0.00           -106.60   Late Fees                            10/1/2022          2484.63          0.00           0.00            0.00          -106.60         -106.60         306309.21                    2695.04        156.60         0.00
      12/1/2022        2484.63          0.00             0.00    Contractual Payment Due              12/1/2022          4969.26          0.00           0.00            0.00            0.00            0.00          306309.21                    2695.04        156.60         0.00
      12/2/2022         0.00            0.00             0.00    MIP Paid                                                4969.26          0.00           0.00          -207.81           0.00            0.00          306309.21                    2487.23        156.60         0.00
      12/6/2022         0.00            0.00            106.60   Late Fees                            10/1/2022          4969.26          0.00           0.00            0.00           106.60          106.60         306309.21                    2487.23        263.20        106.60
      12/6/2022         0.00            0.00             0.00    Payment Reversal                     9/1/2022           7453.89        -533.63        -799.07        -1,151.93          0.00          2484.63         306842.84                    1335.30        263.20        2591.23
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A.                B.             C.               D.            E.                        F.                 G.              H.             I.             J.               K.             L.               M.               N.         O.             P.            Q.
Date              Contractual    Funds Received   Amount        Description               Contractual Due Prin, Int & Esc    Amount to      Amount to      Amount to        Amount to Fees Unapplied        Principal        Accrued    Escrow Balance Fees/         Unapplied
                  Payment                         Incurred                                Date            Past Due           Principal      Interest       Escrow           or Charges     Funds            Balance          Interest                  Charges       Funds Balance
                  Amount                                                                                  Balance                                                                                                            Balance                   Balance
      12/6/2022         0.00           0.00            -53.30   Late Fees                       9/1/2022           7453.89          0.00           0.00            0.00          -53.30          0.00            306842.84                   1335.30        209.90        2591.23
      12/6/2022         0.00           0.00             0.00    Payment Reversal                8/1/2022           9938.52        -532.24        -800.46        -1,151.93         0.00          2484.63          307375.08                    183.37        209.90        5075.86
      12/6/2022         0.00           0.00            -53.30   Late Fees                       8/1/2022           9938.52          0.00           0.00            0.00          -53.30                          307375.08                    183.37        156.60        5075.86
      12/6/2022         0.00                            0.00    Payment Reversal                                   9938.52          0.00           0.00            0.00           0.00          -5075.86         307375.08                    183.37        156.60         0.00
     12/21/2022         0.00          5075.86           0.00    Funds Received                                     9938.52          0.00           0.00            0.00           0.00            0.00           307375.08                    183.37        156.60         0.00
     12/21/2022         0.00            0.00            0.00    Payments Posting                *9/01/2022         7453.89         532.24         800.46         1,151.93         0.00            0.00           306842.84                   1335.30        156.60         0.00
     12/21/2022         0.00            0.00            0.00    Payments Posting               *10/01/2022         4969.26         533.63         799.07         1,151.93         0.00            0.00           306309.21                   2487.23        156.60         0.00
     12/21/2022         0.00            0.00            0.00    Suspense Transaction                               4969.26          0.00           0.00            0.00           0.00           106.60          306309.21                   2487.23        156.60        106.60
     12/27/2022         0.00            0.00            0.00    Payment Reversal                9/1/2022           7453.89        -533.63        -799.07        -1,151.93         0.00           2484.63         306842.84                   1335.30        156.60        2591.23
     12/27/2022         0.00            0.00            0.00    Payment Reversal                8/1/2022           9938.52        -532.24        -800.46        -1,151.93         0.00           2484.63         307375.08                    183.37        156.60        5075.86
     12/27/2022         0.00            0.00            0.00    Suspense Transaction                               9938.52          0.00           0.00            0.00           0.00          -5075.86         307375.08                    183.37        156.60         0.00
      1/1/2023         2662.00          0.00            0.00    Contractual Payment Due         1/1/2023          12600.52          0.00           0.00            0.00           0.00            0.00           307375.08                    183.37        156.60         0.00
      1/4/2023          0.00            0.00            0.00    MIP Paid                                          12600.52          0.00           0.00          -207.81          0.00            0.00           307375.08                    -24.44        156.60         0.00
      1/10/2023         0.00          5075.86           0.00    Funds Received                                    12600.52          0.00           0.00            0.00           0.00            0.00           307375.08                    -24.44        156.60         0.00
      1/10/2023         0.00            0.00            0.00    Payments Posting                *9/01/2022        10115.89         532.24         800.46         1,151.93         0.00            0.00           306842.84                   1127.49        156.60         0.00
      1/10/2023         0.00            0.00            0.00    Payments Posting               *10/01/2022         7631.26         533.63         799.07         1,151.93         0.00            0.00           306309.21                   2279.42        156.60         0.00
      1/10/2023         0.00            0.00            0.00    Suspense Transaction                               7631.26          0.00           0.00            0.00           0.00           106.60          306309.21                   2279.42        156.60        106.60
      2/1/2023         2662.00          0.00            0.00    Contractual Payment Due         2/1/2023          10293.26          0.00           0.00            0.00           0.00            0.00           306309.21                   2279.42        156.60        106.60
      2/3/2023          0.00            0.00            0.00    MIP Paid                                          10293.26          0.00           0.00          -207.81          0.00            0.00           306309.21                   2071.61        156.60        106.60
      3/1/2023         2662.00          0.00            0.00    Contractual Payment Due         3/1/2023          12955.26          0.00           0.00            0.00           0.00            0.00           306309.21                   2071.61        156.60        106.60
      3/1/2023          0.00            0.00            0.00    Taxes Paid                                        12955.26          0.00           0.00         -2,381.00         0.00            0.00           306309.21                   -309.39        156.60        106.60
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